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                          UNITED STATES BANKRUPTCY COURT
                           SOUTHERN DISTRICT OF FLORIDA
                                   MIAMI DIVISION

 IN RE:                                           CASE NO. 23-15483-LMI

 ATLANTIC RADIO TELEPHONE, INC.,                  CHAPTER 11

          Debtor.


                 DEBTOR’S EMERGENCY MOTION FOR ENTRY OF
             INTERIM AND FINAL ORDERS AUTHORIZING USE OF CASH
              COLLATERAL AND REQUEST FOR EXPEDITED HEARING

                    The Debtor respectfully requests that an emergency hearing be
                    conducted by the Court. Absent use of cash collateral, the
                    Debtor runs the risk of irreparable harm to its business.

       ATLANTIC RADIO TELEPHONE, INC. (“Debtor”), by and through its proposed

undersigned counsel, files this Emergency Motion for Entry of Interim and Final Orders

Authorizing Use of Cash Collateral and Request for Expedited Hearing (“Motion”), and in

support of this Motion, states as follows:

                         BRIEF STATEMENT OF RELIEF REQUESTED

       By this Motion, the Debtor respectfully requests that the Court enter interim and final

orders authorizing the Debtor’s use of cash collateral in accordance with the budgets attached

hereto as Exhibit “A” (interim) and Exhibit “B” (final). A copy of the proposed interim order

is attached hereto as Exhibit “C”. A proposed final order shall be filed in advance of the final

hearing. The Debtor proposes to use cash collateral, on an interim basis, for purposes of funding

payroll, rent, insurance and other costs related to its business operations.

       Approval of the instant Motion is necessary and critical to the Debtor’s ongoing business

operations, as well as for the preservation of asset and collateral value.

       The information relevant to the Court’s consideration of this Motion is as follows:
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                ●       Affected Secured Creditors: Popular Bank
                                                    Small Business Administration (“SBA”)

                ●       Basis for Secured Claims:        Security Agreements and Recorded UCC-1s 1

                ●       Amount Owed:                     Popular Bank ($300,000.00)
                                                         SBA ($148,000.00)

                ●       Proposed CC Use:                 Approx. $537,552.21 (21-days)

                ●      Stipulations by Debtor:           None (on an interim basis)

                ●     Adequate Protection:               (a) Continuing Liens; and (b) Replacement
                                                         Liens, but only to the extent the Continuing
                                                         Liens are not sufficient to protect against
                                                         diminution in the value of the Pre-Petition
                                                         Collateral.


                                      JURISDICTION AND VENUE

        1.      This Court has jurisdiction over this Motion under 28 U.S.C. §§157 and 1334.

Venue is proper under 28 U.S.C. §§ 1408 and 1409. This is a core proceeding as defined in

28 U.S.C. §157(b)(2)(A) and (M).

        2.      The statutory predicates for the relief requested herein are 11 U.S.C. §§ 105, 361,

362, and 363.

                                         INTRODUCTION

A.      Organization and Management

        3.      The Debtor is a Florida corporation and has been operating continuously since

1976. The Debtor’s sole shareholder is its founder, Conrad J. Webber, Sr. The Debtor’s day-to-

day operations are managed by Conrad J. (“CJ”) Webber, Jr. CJ Webber has been employed by



1
  Based on public records, it appears that the SBA recorded first; however, upon information and belief,
Popular Bank, who recorded after the SBA, may have received an assignment of the lien from Wachovia
Bank, who recorded before the SBA. There is no UCC-3 evidencing an assignment of the Wachovia Bank
lien to Popular Bank.


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the Debtor since 1993 and has managed the day-to-day operations for approximately eight (8)

years.

B.       Business Operations

         4.      The Debtor provides navigation and communication solutions to the marine

community and maintains a factory certified technical service and installation team with decades

of experience.

         5.      The Debtor employs thirty-five (35) people consisting of customer service,

finance, installation, marketing, operations, purchasing, sales, and warehouse personnel.

         6.      The Debtor operates at 2494 NW 35th Avenue, Miami, Florida 33142.             The

Debtor’s premises are owed and leased to the Debtor by C. Webber Enterprises, Inc., an entity

owned by Conrad J. Webber, Sr. The premises has been owned by C. Webber Enterprises, Inc.,

and leased to the Debtor, since approximately 1981.

C.       Financials

         7.      For the fiscal year ending December 31, 2022, the Debtor achieved net income of

approximately $200,000.00 on gross income of approximately $19,350,000.00. As of December

31, 2022, the Debtor had total assets of just over $5,000,000.00 and liabilities of approximately

$3,370,000.00. Through May 31, 2023, the Debtor had net income of approximately

($81,000.00) on gross income of approximately $6,500,000.00. Finally, for the year ending

December 31, 2021, the Debtor had a net income of ($274,570.00) on gross revenues of

$18,772,245.00.

D.       Financing

         8.      The Debtor has a secured line of credit with Popular Bank in the amount of

$300,000.00 (the “Line of Credit”). The line of credit is secured by a lien on substantially all of




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 the Debtor’s assets, as well as a mortgage lien against a building owned by C. Webber

 Enterprises, Inc., an entity owned by Conrad J. Webber, Sr., and leased to the Debtor.

        9.      The Debtor also received an economic injury disaster loan (the “EIDL Loan”),

 and a loan under the paycheck protection program (the “PPP Loan”), with the Small Business

 Administration (the “SBA”). The Debtor is current on the EIDL Loan, and the PPP Loan was

 forgiven.

                            EVENTS LEADING TO BANKRUPTCY

        10.     There has been increased competition in the satellite business.

        11.     The Debtor fell behind with at least one large creditor, who provides satellite

service access to the Debtor. While the Debtor has been able to reduce the amount of debt owed

in arrears, the Debtor was recently unable to satisfy the entire monthly obligation due.

Consequently, the creditor declared a default and threatened to suspend service.

        12.     In order to avoid suspension of service, as well as to restructure debt, the Debtor

opted to file for relief under Chapter 11.

        13.     It is the Debtor’s intention to file a plan of reorganization in the very near future

and to provide a very substantial, if possible, full recovery to creditors.

                                      RELIEF REQUESTED

        14.     By this Motion, the Debtor seeks interim and final orders authorizing the Debtor

 to use cash collateral in order to operate the Debtor’s business.

        15.     The Debtor seeks authority to use cash collateral in accordance with the budgets

 attached hereto as Exhibit “A” and Exhibit “B.” Exhibit “A” represents the “interim budget”

 (the “Interim Budget”) which will govern use of cash collateral pending a final hearing on this

 Motion (the “Interim Period”) in order to avoid immediate and irreparable harm to the estate.




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Exhibit “B” represents the budget which will govern use of cash collateral following a final

hearing on this Motion (the “Final Budget”) (the Interim Budget and the Final Budget are

hereinafter collectively referred to as the “Budgets”).

                      ARGUMENTS IN SUPPORT OF RELIEF REQUESTED

          16.    SBA appears to hold a first-priority lien against substantially all of the Debtor’s

assets, while Popular Bank holds a second-priority lien against substantially all of the Debtor’s

assets, including accounts receivable and inventory.2

          17.    The recorded liens likely extend to collateral representing cash collateral within

the meaning of 11 U.S.C. § 363(a).

          18.    It is essential to the continued operation of the Debtor’s business for the Debtor to

have the ability to utilize cash collateral.

          19.    The Debtor believes that adequate protection will be provided as a result of any

equity cushion in favor of SBA and Popular Bank and by providing continuing and replacement

liens proposed herein in favor of SBA and Popular Bank.

          20.    There is insufficient time for a full hearing to be held before the Debtor must use

cash collateral. If this Motion is not considered on an expedited basis, and if the Debtor is denied

the ability to immediately use cash collateral, there will be a direct and immediate material and

adverse impact on the continuing operation of the Debtor’s business and on the value of its assets

and overall business operations. In order to continue its business operations in an effort to

achieve a successful reorganization, the Debtor must use cash collateral in its ordinary business

operations. The inability of the Debtor to meet ordinary business expenses will result in

irreparable injury to the Debtor and could negatively impact the Debtor’s chances for a


2
    See n.1, supra.



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successful reorganization.

        21.     If allowed to use cash collateral, the Debtor believes it can maintain its business

operations.

                   AUTHORITY IN SUPPORT OF RELIEF REQUESTED

        22.     Pursuant to 11 U.S.C. § 363(c)(2)(B) of the Bankruptcy Code, a debtor-in-

possession may use cash collateral with court approval after notice and a hearing. Section 363(e)

of the Bankruptcy Code provides that, upon request of an entity that has an interest in property to

be used by a debtor, the Court “shall prohibit or condition such use . . . as is necessary to provide

adequate protection of such interest.” 11 U.S.C. § 363(e). Respectfully, the Court should approve

the Debtor’s proposed use of cash collateral because the interests in cash collateral of Popular

Bank will be adequately protected during the Debtor’s continued business operations.

        23.     Adequate protection can be provided by a number of different methods. Section

361 of the Bankruptcy Code provides that adequate protection may be provided by (1) making “a

cash payment or periodic cash payments to [an] entity, to the extent that the stay under section

362 of this title, use, sale, or lease under section 363 of this title . . . results in a decrease in the

value of [the] entity’s interest in such property,” (2) “providing to [an] entity an additional or

replacement lien to the extent that such ... use . . . results in a decrease in the value of [the]

entity’s interest in such property” or (3) “granting such other relief . . . as will result in the

realization by [an] entity of the indubitable equivalent of [the] entity’s interest in such property.”

11 U.S.C. §§ 361(1), (2), (3). Adequate protection may also be provided or otherwise realized by

the existence of an equity cushion in the collateral.

        24.     What constitutes adequate protection is determined on a case-by-case basis. See

MBank Dallas, N.A. v. O’Connor (In re O’Connor), 808 F.2d 1393, 1396-97 (10th Cir. 1987); In




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re Martin, 761 F.2d 472 (8th Cir. 1985). However, regardless of how adequate protection is

provided, the focus of the requirement is to protect a secured creditor from diminution in value

of its interest in the collateral during the period of use by the debtor. See In re Kain, 86 B.R. 506,

513 (Bankr. W.D. Mich. 1988); Delbridge v. Production Credit Ass’n & Fed. Land Bank, 104

B.R. 824, 827-28 (E.D. Mich. 1989); In re Beker Indus. Corp., 58 B.R. 725, 736 (Bankr.

S.D.N.Y. 1986); In re Ledgemere Land Corp., 116 B.R. 338, 343 (Bankr. D. Mass. 1990).

        25.    Adequate protection is necessary only to the extent the use of the creditor’s

collateral will result in a decrease in “the value of such entity’s interest in such property.” 11

U.S.C. §§ 361, 363(e); see United Savings Ass’n of Texas v. Timbers of Inwood Forest Assocs.,

Ltd., 484 U.S. 365, 370-73 (1988) (the “interest in property” entitled to protection is “the value

of the collateral” securing the claim). As the court in In re Megan Racine Assoc., Inc., 202 B.R.

660 (Bankr. N.D.N.Y. 1996) noted:

               Adequate protection . . . is intended to compensate a creditor for
               any decrease in the value of its security interest in collateral during
               the pendency of the debtor’s reorganization that is due to the
               imposition of the stay or is traceable to the use of such property.

Id. at 663.

        26.    Popular Bank is entitled to protection against the decline in value of its security

interest in pre-petition collateral resulting from the Debtor’s use of cash collateral.

        27.    As of May 31, 2023, excluding cash, the Debtor estimates the value of its primary

assets as follows: (a) Accounts Receivable: $1,600,000.00; (b) Equipment: $677,000.00; and (c)

Inventory: $3,200,000.00. While there is some variation between May 31, 2023 and July 13,

2023, the Debtor estimates the values remain similar.

        28.    The Debtor submits that SBA and Popular Bank are over-secured when

considering the value of the Debtor’s accounts receivable, equipment, and inventory. As the



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Debtor collects pre-petition accounts receivable, and uses the proceeds towards operating

expenses, the Debtor will acquire new inventory and generate new accounts receivable against

which SBA and Popular Bank shall be afforded a replacement lien.

       29.     Accordingly, the Debtor believes that the continuing and replacement liens will

result in the interests of SBA and Popular Bank being adequately protected.

       30.     As can be seen from the attached Budgets, the Debtor’s cash position improves

over the 13-week cycle (Exhibit “B”), which is indicative of the value of the continuing and/or

replacement liens as adequate protection.

       31.      During the 13-week cycle, the Debtor projects sales in the amount of

approximately $4,7000,000.00 and a net increase in cash of approximately $175,000.00.

       32.     In light of the foregoing, the Debtor submits that the use of cash collateral is

appropriate in accordance with the Budgets.

                         REQUEST FOR PRELIMINARY HEARING

       33.     The Debtor respectfully requests that the Court conduct an emergency hearing

pursuant to Federal Rule of Bankruptcy Procedure 4001(b)(2) and further conduct a final hearing

on not less than 15 days’ notice. The Debtor requests that the Court authorize the Debtor to use

cash collateral on an interim basis pending a final hearing in accordance with the Interim Budget.

       34.     The Debtor requests that the Court conduct a final hearing and authorize the

Debtor’s use of cash collateral in accordance with the Final Budget.

                                      RESERVATION OF RIGHTS

       35.     By submitting this request, the Debtor does not waive any rights, including

without limitation, the right to (a) object, challenge or contest the extent, validity or priority of

any of pre-petition lien(s), (b) value any or all of the collateral securing such liens, (c) contest or




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challenge whether any lien extends to cash collateral, and (d) object to any claim of any secured

creditor.

        WHEREFORE, the Debtor respectfully requests that this Court (a) enter an interim

order granting the Motion in the form attached as Exhibit “C” and authorizing the interim use of

cash collateral in the operation of its business in accordance with the Interim Budget attached as

Exhibit “A”, (b) scheduling a final hearing in order to authorize the Debtor’s use of cash

collateral, and (c) entering a final order authorizing use of cash collateral in accordance with the

proposed Final Budget attached as Exhibit “B” (the form of the proposed order shall be filed

with the Court in advance of the final hearing), as well as granting such other and further relief

that the Court may deem just and proper.

        RESPECTFULLY SUBMITTED this 16th day of July 2023.

         I HEREBY CERTIFY that I am admitted to the Bar of the United States District Court for the Southern
District of Florida and I am in compliance with the additional qualifications to practice in this Court set forth in
Local Rule 2090-1(A).


                                                     SEESE, P.A.
                                                     Proposed Attorneys for Debtor-in-Possession
                                                     101 N.E. 3rd Avenue
                                                     Suite 1500
                                                     Ft. Lauderdale, Florida 33301
                                                     Telephone: (954) 745-5897

                                                     By: _____s/Michael D. Seese
                                                            Michael D. Seese, Esq.
                                                            Fla. Bar No. 997323
                                                            mseese@seeselaw.com




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                     CERTIFICATE OF EXIGENT CIRCUMSTANCES

       I HEREBY CERTIFY that an emergency hearing has been requested, since the relief

requested is critical to the administration of this estate and to the Debtor’s business operations in

connection with this case. Absent use of cash collateral, the Debtor will be unable to operate and,

therefore, the Debtor and the estate shall suffer immediate and irreparable harm.

                                       /s/ Michael D. Seese
                                      Michael D. Seese, Esq.




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                     EXHIBIT “A”


                     Interim Budget
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      Atlantic Radio Telephone, Inc.
      3 Month Cash Flow Forecast
               Effective Date               14-Jul-23

                  Start Date
                                                             Fri            Sat           Sun           Mon            Tue           Wed           Thu           Fri           Sat           Sun           Mon            Tue           Wed           Thu         Fri             Sat           Sun           Mon            Tue            Wed              Thu
          Fridays in the Month                             14-Jul          15-Jul        16-Jul        17-Jul         18-Jul        19-Jul        20-Jul        21-Jul        22-Jul        23-Jul        24-Jul         25-Jul        26-Jul        27-Jul      28-Jul          29-Jul        30-Jul        31-Jul         1-Aug          2-Aug            3-Aug      Totals
Beginning Cash Balance                                  $ 293,453.76

                 Receipts
Airtime Sales                                                                                                                                                                                                                                                                                                           $ 240,000.00   $   160,000.00                  $   400,000.00
Other Sales Income                                      $ 40,476.19    $ 40,476.19   $ 40,476.19   $ 40,476.19    $ 40,476.19   $ 40,476.19   $ 40,476.19   $ 40,476.19   $ 40,476.19   $ 40,476.19   $ 40,476.19    $ 40,476.19   $ 40,476.19   $ 40,476.19   $ 40,476.19   $ 40,476.19   $ 40,476.19   $ 40,476.19    $ 40,476.19    $    40,476.19   $ 40,476.19    $   850,000.00

Total Receipts                                          $ 40,476.19    $ 40,476.19   $ 40,476.19   $ 40,476.19    $ 40,476.19   $ 40,476.19   $ 40,476.19   $ 40,476.19   $ 40,476.19   $ 40,476.19   $ 40,476.19    $ 40,476.19   $ 40,476.19   $ 40,476.19   $ 40,476.19   $ 40,476.19   $ 40,476.19   $ 40,476.19    $ 280,476.19   $   200,476.19   $ 40,476.19    $ 1,250,000.00


              Disbursements
ART Payroll                                             $ 50,843.08                                                                                                                                                                                            $ 50,843.08                                                                                             $   101,686.16
ART Payroll Taxes                                       $ 15,166.93                                                                                                                                                                                            $ 15,166.93                                                                                             $    30,333.86

Total Payroll                                           $ 66,010.01    $        -    $        -    $        -     $        -    $        -    $        -    $        -    $        -    $        -    $        -     $        -    $        -    $        -    $ 66,010.01   $        -    $        -    $        -     $       -      $           -    $       -      $   132,020.02



                 Deductions

 Advertising (Google, Yahoo, Facebook))                 $ 10,000.00                                $   3,000.00                 $ 3,000.00                  $ 3,000.00                  $ 3,000.00                   $ 3,000.00                  $ 3,000.00                  $ 3,000.00                  $ 3,000.00                    $     3,000.00                  $    37,000.00
Auto Expense (payments, Lease, Insurance)               $    342.57    $    150.00                                $    796.90                                             $    150.00                                $ 2,150.68    $ 1,097.28                                $   150.00                  $ 1,023.65                                                    $     5,861.08
Freight Expenses for Orders                                                                                                                                                                                                                                                                              $ 25,000.00                                                   $    25,000.00
Florida Department on Revenue - Sales Tax                                                                                       $ 9,000.00                                                                                                                                                                                                                             $     9,000.00
Insurance (Company & Payroll)                           $   1,551.54                 $ 1,744.75    $     272.15                               $ 1,696.42    $ 1,538.19                                                                                                                                                  $ 14,220.62    $       65.00    $   6,243.62   $    27,332.29
Netsuite                                                $   9,500.00                                                                                                                                                                                                                                                                                                   $     9,500.00
Rental Storage Units                                    $     450.00                                                                                                                                                                                                                                                                                                   $       450.00
IT Support                                              $   2,500.00                                                                                        $ 2,500.00                                                                           $ 2,500.00                                                                            $     2,500.00                  $    10,000.00
Bank Fees                                                                                                                                                                                                                                                                                                               $   2,200.00                                   $     2,200.00
Utilities                                               $     701.69                                                                                                      $ 1,372.15                                               $    135.00                                                                          $   3,000.00                                   $     5,208.84
Miscellaneous                                           $        -                                                                                          $ 2,000.00                                                                                         $ 2,000.00                                                                                              $     4,000.00
Inventory Assets - new or current orders                $ 100,000.00                               $ 100,000.00                                                                                       $ 100,000.00                                                                                       $ 100,000.00                                                  $   400,000.00
                                                                                                                                                                                                                                                                                                                                                                       $          -
Total Deductions                                        $ 125,045.80   $    150.00   $ 1,744.75    $ 103,272.15   $    796.90   $ 12,000.00   $ 1,696.42    $ 9,038.19    $ 1,522.15    $ 3,000.00    $ 100,000.00   $ 5,150.68    $ 1,232.28    $ 5,500.00    $ 2,000.00    $ 3,150.00    $        -    $ 129,023.65   $ 19,420.62    $     5,565.00   $   6,243.62




Ending Cash Balance                                     $ 142,874.14   $ 40,326.19   $ 38,731.44   $ (62,795.96) $ 39,679.29    $ 28,476.19   $ 38,779.77   $ 31,438.00   $ 38,954.04   $ 37,476.19   $ (59,523.81) $ 35,325.51    $ 39,243.91   $ 34,976.19    ######### $ 37,326.19      $ 40,476.19   $ (88,547.46) $ 261,055.57    $   194,911.19   $ 34,232.57
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                     EXHIBIT “B”


                      Final Budget
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      Atlantic Radio Telephone, Inc.
       3 Month Cash Flow Forecast
               Effective Date               14-Jul-23
                                                             Month 1               Month 2               Month 3
                 Start Date                                 14-Jul-23             14-Aug-23             14-Sep-23
                                                            13-Aug-23             13-Sep-23             13-Oct-23
          Fridays in the Month                                  5                     4                     5                 Total
Beginning Cash Balance                                  $        293,453.76   $        344,683.74   $        368,414.72   $      368,414.72

                Receipts
Airtime Sales                                           $        720,000.00   $        720,001.00   $        720,002.00   $    2,160,003.00
Other Sales Income                                      $        850,000.00   $        850,000.00   $        850,000.00   $    2,550,000.00

Total Receipts                                          $      1,570,000.00   $      1,570,001.00   $      1,570,002.00   $    4,710,003.00


             Disbursements
ART Payroll                                             $        101,686.16   $        101,686.16   $        101,686.16   $     305,058.48
ART Payroll Taxes                                       $         30,333.86   $         30,333.86   $         30,333.86   $      91,001.58

Total Payroll                                           $        132,020.02   $        132,020.02   $        132,020.02   $     396,060.06



                Deductions

 Advertising (Google, Yahoo, Facebook)                  $         50,000.00   $         50,000.00   $         50,000.00   $      150,000.00
Auto Expense (payments, Lease, Insurance)               $          5,600.00   $          5,600.00   $          5,600.00   $       16,800.00
Freight Expenses for Orders                             $         25,000.00   $         25,000.00   $         25,000.00   $       75,000.00
Florida Department on Revenue - Sales Tax               $          9,000.00   $          9,000.00   $          9,000.00   $       27,000.00
Insurance (Company & Payroll)                           $         33,000.00   $         33,000.00   $         33,000.00   $       99,000.00
Netsuite                                                $          9,500.00   $          9,500.00   $          9,500.00   $       28,500.00
Rental Storage Units                                    $            450.00   $            450.00   $            450.00   $        1,350.00
IT Support                                              $         30,000.00   $         30,000.00   $         30,000.00   $       90,000.00
Bank Fees                                               $          2,200.00   $          2,200.00   $          2,200.00   $        6,600.00
Utilities                                               $         12,000.00   $         12,000.00   $         12,000.00   $       36,000.00
Miscellaneous                                           $         10,000.00   $         10,000.00   $         10,000.00   $       30,000.00
Debtor's Counsel (excudes retainer)                     $               -     $         20,000.00   $         20,000.00   $       40,000.00
SubV Trustee                                            $               -     $          7,500.00   $          7,500.00   $       15,000.00
Inventory Assets - new or current orders                $      1,200,000.00   $      1,200,000.00   $      1,200,000.00   $    3,600,000.00

Total Deductions                                        $      1,386,750.00   $      1,414,250.00   $      1,414,250.00   $    4,215,250.00




Ending Cash Balance                                     $        344,683.74   $        368,414.72   $        392,146.70   $     467,107.66
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                     EXHIBIT “C”


                      Interim Order
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                           UNITED STATES BANKRUPTCY COURT
                            SOUTHERN DISTRICT OF FLORIDA
                                    MIAMI DIVISION

   IN RE:                                          CASE NO. 23-15483-LMI

   ATLANTIC RADIO TELEPHONE, INC.,                 CHAPTER 11

            Debtor.


                       INTERIM ORDER AUTHORIZING USE OF CASH
                      COLLATERAL AND SETTING FURTHER HEARING

       THIS MATTER came before the Court on _______________, 2023, at ______ a.m./p.m.,

upon the scheduled emergency hearing (the “Hearing”) on the Debtor’s Emergency Motion for

Entry of Interim and Final Orders Authorizing Use of Cash Collateral and Request for Expedited

Hearing [ECF No. ___ ] (the “Motion”), and the Court, having (a) reviewed the file, (b) reviewed

the “Interim Budget” attached to the Motion as Exhibit “A”, (c) heard any and all arguments

and/or presentations of counsel, (d) heard the proffered testimony, which was not disputed; (e)
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found that good and sufficient notice was provided in accordance with Federal Rule of Bankruptcy

Procedure 4001-2; (e) found that good and sufficient cause exists in support of relief on an

emergency basis; and (f) found that the requested use of cash collateral in accordance with the

Interim Budget is necessary in order to avoid immediate and irreparable harm to the Debtor’s

estate. Accordingly, the Court being otherwise fully advised in the premises and based further on

the entire record of the Hearing, it is

        ORDERED as follows:

        1.      The Motion is GRANTED as provided in this “Interim Order.”

        2.      The Debtor is authorized to use "cash collateral," as that term is defined in 11

U.S.C. § 363(a) (the “Cash Collateral”) upon the following terms and conditions:

                (A)     The Debtor may use Cash Collateral solely for the purpose of funding those

expenses in accordance with the Interim Budget, a copy of which is attached hereto as Exhibit “A”

and incorporated herein by reference, together with any additional amounts to which the Secured

Creditors (hereinafter defined) have afforded prior written consent, subject, however, to payment

of any fees to the Clerk of the Court.

                (B)     As adequate protection for the interests of the SBA and Popular Bank

(collectively, the “Secured Creditors”) in the Cash Collateral, and not to exceed the amount of

Cash Collateral used by the Debtor, the Secured Creditors are granted, without any further action,

continuing liens (“Continuing Liens”) as of the Petition Date on and security interests in all

property of the Debtor of the same description, type and nature as was subject to the Secured

Creditors’ pre-petition liens and security interests with such Continuing Liens to have the same

extent, validity and priority as existed as of the Petition Date; provided, however, that the

Continuing Liens shall be at all times subject and junior to the Administrative Carveout (as




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hereinafter defined) and any Professional Fee Carveout (as hereinafter defined). For avoidance of

doubt, the Continuing Liens shall not attach to any causes of action that could be brought under

§§ 544-548 of the Bankruptcy Code or any applicable state fraudulent-transfer statute or similar

statute;

               (C)     As additional adequate protection for the Debtor’s use of Cash Collateral,

but only to the extent that the Continuing Liens are not sufficient to protect against any diminution

in the value of the Prepetition Collateral as a result of such use of Cash Collateral, the Secured

Creditors shall be granted, without any further action, valid, binding, enforceable, fully perfected,

replacement liens and first priority security interests in the Debtor’s presently owned or hereafter

acquired property and assets, whether such property and assets were acquired before or after the

Petition Date, of any kind or nature, whether real or personal, tangible or intangible, wherever

located, and the proceeds and products thereof (the “Replacement Liens”) junior only to: (i) the

Administrative Carveout (as hereinafter defined) and any Professional Fee Carveout (as hereinafter

defined); and (ii) valid, enforceable, properly perfected and unavoidable prepetition liens existing

on the Petition Date upon assets that do not constitute Prepetition Collateral. The Replacement

Liens shall not attach to any causes of action that could be brought under §§ 544-548 of the

Bankruptcy Code or any applicable state fraudulent-transfer statute or similar statute;

               (D)     The Continuing Liens and Replacement Liens shall be deemed duly and

automatically perfected under all applicable laws, and no further notice, filing, recordation or order

shall be required to effectuate such perfection. Debtor and Secured Creditors shall not be required

to execute mortgages, security agreements, corporate resolutions or other documents or record

further financing statements or take any other steps under applicable law, or otherwise, to create

or perfect the Continuing Liens and Replacement Liens authorized hereunder.




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                (E)     The Continuing Liens and Replacement Liens shall be at all times subject

and junior to: (i) all unpaid fees required to be paid to the Clerk of the Court (collectively, the

“Administrative Carveout”); and (ii) any carveout for the benefit of professionals agreed to by

Secured Creditors as part of any final cash collateral order (the “Professional Fee Carveout” and,

together with the Administrative Carveout, the “Carveouts”);

                (F)    The Debtor’s authorization to use Cash Collateral shall be effective through

and including the date of the Final Hearing (defined hereinafter) (the "Interim Period"), unless

otherwise terminated hereunder;

                (G)     The Debtor’s authorization to use the Cash Collateral shall terminate on the

earlier of: (i) the expiration of the Interim Period; (ii) by entry of a further order of this Court; or

(iii) the occurrence of any of the following (an “Event of Default”) unless such Event of Default

is otherwise waived by the affected Secured Creditor:

               (i)     the failure of Debtor to materially comply with the terms and
        provisions of this Interim Order; provided that the Secured Creditors shall notify
        Debtor’s counsel in writing by telephone facsimile or e-mail of any noncompliance
        by Debtor with the terms and provisions of this Interim Order, and the Debtor shall
        have three (3) business days from the sending of the notice to cure such
        noncompliance;

                (ii)    any post-petition lien (other than any lien(s) recorded against the
        property as of the petition date) is recorded against the assets of the bankruptcy
        estate, except any lien granted on assets of the bankruptcy estate to secure post-
        petition financing to which lien the Secured Creditors have consented or which has
        been granted pursuant to an order of this Court; or

                (iii) the appointment of a trustee (excluding a SubV Chapter 11 Trustee)
        or an examiner, or conversion of this case to a Chapter 7 case.

                (H)     Upon the occurrence of an Event of Default, (i) the Debtor shall no longer

have authority to use the Cash Collateral, but any and all accrued amounts under the Carveouts,

through the date of Event of Default, shall be unaffected by the Event of Default, and (ii) the




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Secured Creditors shall be entitled to an expedited hearing, on at least seventy-two (72) hours’

notice to the Debtor and its counsel and any other party or entity who may claim a lien against the

Debtor’s assets, on relief from the automatic stay under 11 U.S.C. § 362. Notwithstanding an

Event of Default, the foregoing are without prejudice to the rights of the Debtor to oppose such

relief and to otherwise seek and obtain an entry of an order by the Court authorizing continued use

of Cash Collateral; and

                (I)    The Debtor shall cause to be served on the Secured Creditors and their

counsel copies of all pleadings, notices, proposed orders and other papers tendered to or filed by

Debtor with this Court in connection with this Chapter 11 case.

        3.      Nothing herein contained shall constitute an acknowledgment that the Secured

Creditors are adequately protected nor shall it prejudice, impair or otherwise affect the rights of

the Secured Creditors under the Bankruptcy Code and Bankruptcy Rules or other applicable law;

provided, however, the foregoing shall be without prejudice or waiver of the Debtor’s rights,

claims, and defenses hereunder or under the applicable provisions of the Bankruptcy Code and

other applicable law, and the Debtor reserves any and all rights to challenge and/or seek a

determination as to: (a) the extent to which any of the Secured Creditors is entitled to any

Continuing Liens or Replacement Liens; (b) the value of any collateral, including, without

limitation, Prepetition Collateral; and (c) object to any claim of the Secured Creditors.

        4.      Nothing contained herein shall be construed or deemed a waiver of any claims by

any third parties.

        5.      The Debtor shall not engage in any transaction which is not in the ordinary course

of its business, except as otherwise authorized by the Court.




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       6.      Unless agreed to in writing by the affected Secured Creditors or authorized by this

Court, the Debtor shall not create, assume, or hereafter cause to exist any lien or security interest

in the property of the estate or the Cash Collateral in favor of any entity other than Secured

Creditors.

       7.      Any and all controversies or disputes over the interpretation or performance of the

terms and conditions of this Interim Order shall be determined by this Court upon application or

motion made by the Secured Creditors, Debtor or other parties-in-interest; Debtor and the Secured

Creditors agree that any such application or motion by either of them may be heard on at least

seventy-two (72) hours’ notice to the other party; the foregoing shall include, without limitation,

any motion to compel performance of the terms and provisions of this Interim Order.

       8.      This Interim Order shall not be construed as consent by the Secured Creditors to

the assessment of their collateral or the Cash Collateral pursuant to 11 U.S.C. § 506(c).

       9.      This Interim Order is without prejudice to the rights of Debtor and the Secured

Creditors to seek modification of it or relief in accordance with applicable law.

       10.     A final hearing (the “Final Hearing”) on the Motion shall be held on

__________________, at _______ a.m./p.m. at United States Bankruptcy Court, C. Clyde

Atkins United States Courthouse, 301 N. Miami Avenue, Courtroom 8, Miami, FL 33128.




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       11.      The Court retains jurisdiction with respect to all matters arising from or related to

the implementation of this Interim Order.

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Submitted by:

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Copies to:

Michael D. Seese, Esq., who is directed to serve a copy of this Order upon all non-registered users
or registered users who have yet to appear electronically in this case and file a conforming
certificate of service.




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